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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------x
                                       :
UNITED STATES OF AMERICA               :
                                       :
          -against-                    :                      ORDER
                                       :
                                                          96 CR 515-02 (LAP)
                                       :
                                       :
                                                         20 CV 8306 (LAP)
                                       :
John Cuff                              :                     Docket #
---------------------------------------x




Loretta A. Preska             , DISTRICT JUDGE:
      Judge's Name


The C.J.A. attorney assigned to receive cases on this day,
Marc Greenwald                      is hereby ordered to assume

representation of the defendant in the above captioned

matter, NUNC-PRO-TUNC   11/4/2020          .




                               SO ORDERED.




                                     UNITED STATES DISTRICT JUDGE




Dated: New York, New York
      11/6/20
